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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                                )    No. CV-15-01022-PHX-SPL
     Planned Parenthood Arizona, Inc., et al.,
 9                                                )
                                                  )
                       Plaintiffs,                )    ORDER
10                                                )
     vs.
11                                                )
                                                  )
     Mark Brnovich, et al.,                       )
12                                                )
13                     Defendants.                )
                                                  )
14                                                )

15           In light of Defendants’ Opposition to Consolidation (Docs. 102, 105), Plaintiffs’
16   Motion to Compel (Doc. 101), and the outstanding discovery disputes set forth in the
17   parties’ Amended Joint Pre-Hearing Statement (Doc. 106), the Court concludes that
18   advancement of the trial on the merits and consolidation with preliminary injunction is
19   not appropriate in this case.1 Therefore, the Court will grant the parties’ stipulated request
20   for entry of preliminary injunction. A scheduling conference will be addressed in a
21   separate forthcoming order. Accordingly,
22           IT IS ORDERED:
23           1. That, with regard to the parties’ request for entry of preliminary injunction, the
24   Stipulation (Doc. 94) is granted in part;
25           2. That, pursuant to the parties’ Stipulation (Doc. 94), the Temporary Restraining
26   Order is lifted and an Order of Preliminary Injunction is entered;
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           Further, the parties have not been afforded an opportunity to address whether the
28   Maricopa County Superior Court’s October 15, 2015 ruling in Planned Parenthood
     Arizona, Inc. v. Christ, Case No. CV2014-006633, bears upon the instant action.
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 1           3. That Defendants are enjoined from enforcing the provisions of Section 4 of
 2   Arizona Senate Bill 1318 to be codified at A.R.S. §§ 36-2153(A)(2)(h) and (i) pending
 3   final judgment on the merits in this case and until further Order of this Court. Physicians
 4   and other designated health care professionals2 are not required to comply with the
 5   provisions of Section 4 of S.B. 1318 to be codified at A.R.S. §§ 36-2153(A)(2)(h) and (i),
 6   absent further Order of this Court;
 7           4. That Preliminary Injunction is entered without security under Rule 65(c) of the
 8   Federal Rules of Civil Procedure;
 9           5. That the hearings presently scheduled for October 21, 2015, October 22, 2015,
10   and October 23, 2015 are vacated as moot;
11           6. That Plaintiffs’ Motion for Temporary Restraining Order and/or Preliminary
12   Injunction (Doc. 22) is denied as moot; and
13           7. That Plaintiffs’ Motion to Compel (Doc. 101) is denied without prejudice and
14   with leave to refile following issuance of a Case Management Order in this matter.
15           Dated this 16th day of October, 2015.
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18                                                     Honorable Steven P. Logan
                                                       United States District Judge
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             As enumerated in A.R.S. § 36-2153(A)(2)

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